                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                   Criminal No. 25-mj-3059 (KAR)
        v.


 JACOB D. MILLER


        AFFIDAVIT OF SPECIAL AGENT DUSTIN FARIVAR IN SUPPORT OF
               AN APPLICATION FOR A CRIMINAL COMPLAINT

       I, Dustin Farivar, state:

                       INTRODUCTION AND AGENT BACKGROUND

       1.      Since 2019, I have served as a Special Agent with the Federal Bureau of

Investigation (“FBI”). As a Special Agent, I am responsible for the investigation of federal

criminal offenses.

       2.      Since 2019, I have also been assigned to the FBI’s Boston Division Springfield

Resident Agency’s national security squad. As a member of the national security squad, I work

with agents and officers investigating crimes involving both domestic and international terrorism

as well as national security violations. I have personally been involved in the execution of

numerous federal search and arrest warrants.

       3.      I respectfully submit this Affidavit in support of an application for a Criminal

Complaint charging Jacob D. Miller (“Miller”) with one count of violating Title 18, United States

Code, Section 922(g)(1) (the “Subject Offense”).

       4.      The facts in this Affidavit come from my personal observations and review of


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records, my training and experience, and information obtained from other agents and witnesses.

This Affidavit is intended to show merely that there is probable cause for the requested Criminal

Complaint and does not set forth all of my knowledge about this matter.

                                   THE SUBJECT OFFENSE

       5.     Title 18, United States Code, Section 922(g)(1) states in pertinent part:

       (g) It shall be unlawful for any person — (1) who has been convicted in any
       court of, a crime punishable by imprisonment for a term exceeding one year
       . . . to ship or transport in interstate or foreign commerce, or possess in or
       affecting commerce, any firearm or ammunition; or to receive any firearm
       or ammunition which has been shipped or transported in interstate or foreign
       commerce.

18 U.S.C. § 922(g)(1).

              PROBABLE CAUSE TO BELIEVE THAT MILLER HAS COMMITTED

                           A VIOLATION OF THE SUBJECT OFFENSE

       Miller’s Criminal History

       6.     According to the National Crime Information Center (“NCIC”) database and the

Massachusetts Department of Criminal Justice Information Services (“CJIS”):

              a.      On February 9, 2004, Miller was convicted of one count of possession of

              child pornography in Hampshire Superior Court Docket No. 03107. On February

              13, 2004, he was sentenced to seven years of probation.

              b.      On February 9, 2004, Miller was convicted of two counts of possession of

              an explosive device in Hampshire Superior Court Docket No. 03015B and 03015D.

              On February 13, 2004 he was sentenced serve two and one-half years in a House

              of Correction for the first count and to ten years of probation, concurrent with his

              sentence in Docket No. 03107, for the second count. On April 7, 2012, he was

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               found in violation of probation and his term was extended to April 7, 2019. On

               January 26, 2018, his probation was terminated.

       The Search of Miller’s Residence and the Seizure of Firearms and Ammunition

       7.      Based upon an Affidavit by FBI Special Agent Derek Boucher, on April 5, 2025,

United States Magistrate Judge Katherine A. Robertson issued warrants to search, among other

premises, the residence of Miller (the “Miller Residence”). Docket Nos. 25-mj-3053-KAR to 25-

mj-3057-KAR.

       8.      On April 8, 2025 at approximately 6:00 a.m., members of the FBI executed the

search warrant for the Miller Residence. During the execution of the search warrant, the FBI

encountered Miller, who was dressed in his pajamas. Miller asked Special Agent Boucher for

some personal clothing and told Boucher that his jeans were located on the floor of his bedroom.

Special Agent Boucher located jeans and a sweatshirt on the floor of the main bedroom in the

residence and brought them to Miller, who took the pants and put the sweatshirt on.

       9.      During the execution of the Miller Residence search warrant, agents located a box

of approximately fifty rounds of Federal brand, American Eagle .45 auto, 230 grain ammunition

inside the bedside table of the bedroom where Special Agent Boucher had found Miller’s jeans

and sweatshirt. Agents also located a prescription medicine bottle on top the bedside table.

       10.       Photographs of the Federal box and of 15 rounds of the ammunition inside the

box are set forth below:




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       11.     Later on April 8, 2025, I spoke with Special Agent Brian Meehan, who is assigned

to the Springfield, Massachusetts Field Office of the Bureau of Alcohol, Tobacco, Firearms, and

Explosives. Special Agent Meehan informed me that he is not aware of any ammunition that is

commercially manufactured in the Commonwealth of Massachusetts.

       12.     Agents also located at the Miller Residence a black, rectangular, side-by-side,

double-door, Stack-On safe in a closet on the main hallway that led to the bedroom.

       13.     Later on April 8, 2025, based upon an Affidavit that I submitted, Magistrate Judge

Katherine A. Robertson issued a search warrant for this safe (and another safe in another bedroom).

Docket No. 25-mj-3058-KAR.

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           14.        A short while later, agents opened the safe and located the following firearms

inside:

                      a.         Remington Model 514

                      b.         J Stevens Arms Company Single Gun

                      c.         Remington Sportsmaster Model 511

                      d.         O.F. Mossberg and Sons No. 44B

                      e.         Marlin Family Firearms Company, Serial No. V314525

                      f.         Remington Model 12C, .22 Rifle, Serial No. 497525

                                                            CONCLUSION

           15.        Based upon the foregoing information, I have probable cause to believe that on

April 8, 2025, Miller committed a violation of the Subject Offense.

           Sworn to under the pains and penalties of perjury,

                                                                       /s/ Dustin Farivar
                                                                      ___________________________
       Signed electronically with authorization from                  Dustin Farivar
       FBI Special Agent Dustin Farivar on April 8, 2025.             Special Agent, Federal Bureau of
                                                                      Investigation


Sworn before me by videoconference on April 8, 2025:


 /s/ Katherine A. Robertson
____________________
Katherine A. Robertson
United States Magistrate Judge

Signed electronically with authorization from
Katherine A. Robertson, U.S. Magistrate Judge on April 8, 2025.                                   
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